Case 9:17-cv-81261-WPD Document 104 Entered on FLSD Docket 04/04/2019 Page 1 of 6




                       IN TH E UN ITED STA TES D ISTRIC T C O U RT
                      FO R TH E SO U TH ER N D IST RIC T O F FLO R IDA

                CA SE N O .9:I7-CV -8IZ6I-D IM ITROU LEA SN A TTHEW M AN

   ALL-TA G CO RP.,

                      Plaintiff,                         FILED BY                   D.C .

                                                                AF2 2li2219
                                                                 ANGEG E.NOBLE
                                                                CLERK U S DISI CI
   CHECKPOW T SYSTEM S,lN C.,                                   s.o.oFF'
                                                                       tk.-w.RB.

                      D efendant.

    O RD ER G R ANT IN G IN PAR T A ND D EN Y ING IN PA RT DEFEN DA N T'S M O TIO N
       FO R EXTENSION OF TIM E TO SUBM IT EXPERT DISCLOSURES IDE 901

         TH IS C AU SE is before the Court upon D efendant, Checkpoint System s, Inc.'s

  (drefendant'')M otion forExtension ofTimetoSubmitExpertDisclosuresrDE 90J.Thismatter
  w as referred to the undersigned upon an Orderreferring a11discovery m atters to the undersigned

  forappropriatedisposition.SeeDE 51.Plaintiff,All--l-agCorp.(stplaintiff')tiledaResponse(DE
  911,andDefendantfiledaReply(DE 951.
                M otion.R esponse.R eplv

         D efendantasks the Coul'
                                tto enteran Orderextending the tim e forD efendantto subm itits

  expertdisclosures.O n M ay 2,2018,the partiessubm itted a JointScheduling Reportwith Proposed

  SchedulingOrder(DE 421.TheProposedSchedulingOrdercontemplatedthefollowingdates:
             A factdiscovery deadline ofnine m onthsfrom the entry ofthe Scheduling Order;

             Plaintiff's expertdisclosuresand reports to be sen'ed w ithin 21 daysofthe com pletion

             offactdiscovery;
Case 9:17-cv-81261-WPD Document 104 Entered on FLSD Docket 04/04/2019 Page 2 of 6



             Plaintiffsexpertdepositionstobe completed within 21daysofthedeadlineto subm it

             initialexpertdisclosuresand reports;

        4. D efendant's rebuttalexpertdisclosures and reports to be served w ithin 28 days ofthe

             deadlineto com plete initialexpertdeposition;and

         5. Defendant's rebuttal expert depositions to be com pleted and the close of expert

             discovery w ithin 21 days of the deadline to subm it rebuttal expert disclosures and

             reports.

         On M ay 4,2018,the Honorable United States DistrictJudge W illiam P.Dim itrouleas

  entered an Order Setting Trial D ate & D iscovery D eadlines, Referring Case to M ediation &

  ReferringDiscoveryM otionstoUnitedStatesMagistrateJudge(DE 431.TheDistrictJudgelater
  entered an Amended OrdergDE 51jon M ay 18,2018 which wasamended only to retlectthe
  correctpaired M agistrate Judge. ThatO rderestablished a discovery cutoffdate ofSeptem ber 11,

  2019 and setthe case for trialon the tw o-w eek calendar com m encing on January 6,2020.The

  A m ended O rderdid notestablish any deadlines forexpertdiscovery'
                                                                   ,however,the Order states:

  dtln setting the follow ing deadlines, the Court has considered the parties' suggested discovery

  schedule.Dates and otheragreem ents betw een the partiesnotothenvise addressed herein shallbe

  consideredpartofthisOrder.''(DE 51,pg.21.
         ln lightofthe Court's statem ent in the Am ended O rder,D efendantassertsthatPlaintiff's

  expertdisclosures were due 9 m onths and 21 days from the entry ofthe M ay 18,2018 A m ended

  Scheduling Order,as suggested in the partiesJointScheduling Reportw ith Proposed Scheduling

  Order (DE 421.Therefore,according to Defendant,the following expertdiscovery schedule
  applies-
         .
Case 9:17-cv-81261-WPD Document 104 Entered on FLSD Docket 04/04/2019 Page 3 of 6




         Plaintiff s ExpertD isclosuresand Reports                 M arch 11,2019

         Plaintiff'sExpertD epositions                             April 1,2019

         Defendant'sR ebuttalExpertD isclosuresand R eports        A pril29,2019

         Defendant'sRebuttalExpertD epositions                     M ay 20,2019

  Plaintiffhas n0tyetsen'ed any expertdisclosures,and Defendantasserts thatPlaintiffhasm issed

  itsM arch 11,2019 deadline to do so.D efendantalso states thataccording to the above schedule,

  itsowndisclosuresaredueApril29,2019.(DE 90,pg.4J.DefendantaskstheCourtto grantan
  extension untilJuly 3,2019 forthe disclosure ofitsaftirm ativeexpertreport.Id.In thealtem ative,

  D efendantasks thatifthe Courtperm its Plaintiffto dkbelatedly disclose an expertwithouthaving

  ever sought''an extension,thatPlaintiffbe required to produce its expertdisclosures and reports

  by July 3,2019,and D efendantbe required to produce its rebuttalexpertdisclosures and reports

  by August21,2019.1d.

         PlaintifffileditsResponse (DE 911onM arch20,2019andrejectedDefendant'sassertion
  that an expert discovery schedule is in place at this point.Plaintiff argues that by setting the

  discovery cutoff date for Septem ber 11, 2019,the Courtdid not adopt the discovery schedule

  proposedbythepartiesintheirJointSchedulingReportwithProposedSchedulingOrder(DE 42J
  andthereforerejectedtheparties'proposeddeadlines.PlaintifffurtherarguesthatitisStpremature''
  to ask the Courtto setany expertdiscovery schedule,because D efendanthas not yetproduced

  enough discoverythatwouldallow theexpertsto form opinions.(DE 91,pg.21.Plaintiffalleges
  thatany i*ad hoc schedule im posed now would inevitably need to be changed''upon D efendant's

  forthcom ing production of discovery, the responses of third-parties, and the testim ony of

  witnesses.(DE 91,pg.31.
Case 9:17-cv-81261-WPD Document 104 Entered on FLSD Docket 04/04/2019 Page 4 of 6




        Defendantfiled itsReply gDE 95Jon March 27,2019.Defendantreiteratesitsassertion
 thattheCourt'sAm ended Scheduling OrderatDE 42 clearly delineated a deadlineforPlaintiffs

 expertdisclosuresasM arch 11,2019.DefendantfurtherarguesthatPlaintiffshouldbebarred from

  belatedly disclosingexpertsaftertheexpiration ofitsexpertdisclosuredeadline.(DE 95,pg.2j.
  DefendantalsorejectsPlaintiffsassertionthatan expertdiscovery scheduleisprematuredueto
  inadequateproduction.(DE 95,pg.3J.Defendantclaimsthatithasalreadyproducedasubstantial
  am ountofdiscovery,and that ifPlaintifffeltthatitcould notm eetits expertdiscovery deadline

  because ofdiscovery issues,Plaintiffshould have m oved for an extension ofthe expertdiscovery

  deadlinepriorto the M arch 11,2019 due date.

         Il.    A nalysis

         The Courthascarefully considered theM otion gDE 901,Response (DE 911,Reply (DE
  951,the Joint Scheduling Reportwith Proposed Scheduling Order (DE 421,the Amended
  SchedulingOrdergDE 511,andtheentiredocketinthiscase.Aftercarefulconsideration,theCourt
  finds thatD efendant's M otion appears to m ake m uch ado aboutnothing.The Courtagrees w ith

  Plaintiff'scontention thatPlaintiffdid notm issits expertdiscovery disclosure deadline because

  no deadline was in place.

         A lthough the parties indeed contem plated an expert discovery schedule in their Joint

  Scheduling ReportgDE 421,thatschedule contemplated a factdiscovery cut-offdateofçtnine
  monthsfrom theentry oftheSchedulingOrder.''(DE 42,pg.lj.Theexpel'tdiscovery deadlines
  suggested by the parties w ere notspecific dates but instead theoreticaldates,i.e.1i2 1 days from

  fact discovery cut-off date,''which in turn w as ûûnine m onths from the entry of the Scheduling

  O rder.''1d.The A m ended O rder seta discovery cutoff date of Septem ber l1,2019, 16 m onths
Case 9:17-cv-81261-WPD Document 104 Entered on FLSD Docket 04/04/2019 Page 5 of 6



 after the entry of the Am ended Order1, and set the case for trial on the tw o-week calendar

  commencingonJanuary 3,2020.gDE 511.BecausetheAmendedOrdersetafilnn discoverycut-
  offdate of Septem ber 11,2019,the Order superseded any agreem entm ade by the parties which

  contem plated a different discovery cut-off date. Therefore, the parties' proposed discovery

  schedule with factdiscovery com pleted nine m onthsafterthe M ay 4,2018 entry ofthe Scheduling

  Order(DE 431,andtheexpertdiscoveryscheduletlowingfrom thatdate,wasrejectedbytheCourt
  when it entered its Order Setting TrialDate & Discovery Deadlines (DE 431 establishing
  Septem ber 11,2019 asthe tirm discovery cut-offdate.

          Contrary to D efendant'sassertions,Plaintiffhasnotm issed its deadline to produce expert

  discoverydisclosuresbecauseno such deadlineexists.Sim ilarly,Defendantneedsno extension of

  timeforitsApril29,2019deadlineto senreexpertdisclosuresbecausethatdeadlinedoesnotexist.

  ln thisregard,Defendant'sM otion foran Extension ofTimeto SubmitExpertDisclosures(DE
  90)isDENIED IN PART.
          H ow ever,in lightofthe parties'instantdispute and inability to agree on areasonableexpert

  discovery schedule,the Courtdeem sitprudentto setdeadlines forcompleting expertdiscovery

  within the discovery period setby JudgeDim itrouleas.The Courtisnotpersuaded by Plaintiff's

  contention thatitisprem ature to setexpertdisclosure deadlinesbased on the am ountofdiscovery

  production.Rather,setting expertdiscovery deadlinesencouragesthepartiesto confer,cooperate,




  1Even ifthe Courtw ere to acceptDefendant's logic regarding the expertdiscovery dates,itwould find thatthe due
  datesassertedby Defendantarewrong.Thedateswouldtlow from theoriginalO rderSettingTrialDate& Discovery
  Deadlines(DE 431,filedonMay4,20l8,nottheAmendedOrderfiledonM ay18,2018.TheOrderwasamendedat
  DE 51 solely to reflectthe correctpaired M agistrate Judge and affected none of the scheduied dates.This simply
  demonstratesthatDefendant'slogicin countingouttheexpertdiscoverydeadlinesfrom atheoreticaldateistlawed.
Case 9:17-cv-81261-WPD Document 104 Entered on FLSD Docket 04/04/2019 Page 6 of 6



  and effectively litigate thiscase.Therefore,Defendant'sM otion is GRANTED IN PART.Itis

  hereby O R DER ED thatthe following deadlines apply:

         Plaintiff's ExpertR eports and D isclosures due        June 21,2019
         Defendant'sExpertR eports and D isclosuresdue          July 22,2019
         RebuttalExperts R eportsand Disclosures due            A ugust5,2019
         ExpertDiscoverv C utoff                                Septem ber 11,2019

         The Courtinstructs the parties to conclude a1ldiscovery,whetherfactor expert,on or

  bcfore Septem ber 1l,2019.The Courtnotesthatthe currentsubstantive pretrialm otion deadline

  ofOctober11,2019,and thetrialperiod ofJanuary 3,2020 (DE 51Jremain unchanged and are
  unaffected by this Order.

         D O N E and O RD ER ED in Cham bers this   Y ayofApril2019,atW estPalm Beach,
                                                                  ,


  Palm Beach County in the Southel'
                                  n D istrictofF1 rida.


                                              W ILLIA M A T       A
                                            UN ITED STA TES A GISTR ATE JU D GE
